          Case 3:20-cv-02731-VC Document 213 Filed 05/20/20 Page 1 of 2




                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


  ANGEL DE JESUS ZEPEDA RIVAS, et                   Case No. 20-cv-02731-VC
  al.,
                 Plaintiffs,                        BAIL ORDER NO. 13
          v.                                        Re: Dkt. No. 184

  DAVID JENNINGS, et al.,
                 Defendants.

       The bail requests from the following detainees are denied without prejudice:
           •   Levi Antonio Cruz Menjivar
           •   Paul Batinas
           •   Walter Cruz-Zavala
       The bail request from the following detainee is deferred:
           •   Hoan Van Tran
       The bail requests from the following detainees are granted:
           •   Carlos Zarazua Blancas
           •   Donis Armando Salguero Aguilar
           •   Marcos Alejandro Reyes
           •   Mikhail Sergeyevich Sokol


       Bail is subject to the standard conditions of release set out at Dkt. 108. Mr. Salguero

Aguilar’s bail is subject to the further condition that he is prohibited from consuming alcohol.

Mr. Sokol’s bail is subject to the further condition that he is prohibited from consuming alcohol
         Case 3:20-cv-02731-VC Document 213 Filed 05/20/20 Page 2 of 2




or drugs except as prescribed by a doctor.

       IT IS SO ORDERED.

Dated: May 20, 2020
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge




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